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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 D.C., R.M., and T.R., a minor, by J.R. )
 Guardian,                              )
                                        )
                   Plaintiff,           )
                                        )
 v.                                     ) Case No.: 5:21-CV-05070-JMG
                                        )
 NELSON MARTIN d/b/a LIBERTY RIDGE )
 FARM,     LIBERTY     RIDGE    FARM, )
 EASTERN               PENNSYLVANIA )
 MENNONITE CHURCH AND RELATED )
 AREAS, and MENNONITE MESSIANIC )
 MISSION      OF     THE      EASTERN )
 PENNSYLVANIA              MENNONITE )
 CHURCH,                                )
                   Defendants.          )


     DEFENDANTS’ ANSWER TO PLAINTIFF’S FIRST AMENDED COMPLAINT

        Defendants Nelson Martin d/b/a Liberty Ridge Farm, Liberty Ridge Farm, Eastern

Pennsylvania Mennonite Church and related areas, and Mennonite Messianic Mission of the

Eastern Pennsylvania Mennonite Church (hereinafter collectively “Defendants”) submits the

following Answer to the Complaint filed by Plaintiffs D.C., R.M., and T.R., a minor, by J.R.,

Guardian.

                                           PARTIES

        1.      Defendants are without sufficient information to admit or deny this pleading and

leave Plaintiffs to their proofs.

        2.      Defendants are without sufficient information to admit or deny this pleading and

leave Plaintiffs to their proofs.

        3.      Defendants are without sufficient information to admit or deny this pleading and

leave Plaintiffs to their proofs.


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         4.     The foregoing averment is not directed toward Defendants and therefore no

response is required.

         5.     The foregoing averment is not directed toward Defendants and therefore no

response is required. To the extent a response is required, Defendants vehemently deny making

threats related to accusations in the Complaint, or otherwise.

         6.     The foregoing averment is not directed toward Defendants and therefore no

response is required. To the extent a response is required, Defendants contend that they are

presently prejudiced by Plaintiffs proceeding anonymously.

         7.     Denied. Defendant Nelson Martin (hereinafter “Nelson”) is not doing business as

Liberty Ridge Farm (hereinafter “Liberty Ridge”), and strict proof thereof is demanded at time of

trial.

         8.     Admitted.

         9.     Denied as to the legal conclusion that Nelson is Principle and/or Owner. It is hereby

further denied that Liberty Ridge and Nelson should be referred to collectively. Accordingly, all

responses to averments that contain “Liberty Ridge” will not include admissions regarding Nelson

individually.

         10.    Admitted.

         11.    Admitted.

         12.    Admitted.

         13.    The foregoing averment is not directed toward Defendants and therefore no

response is required.




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       14.     Denied as to the characterization that the Mennonite Messianic Mission of the

Eastern Pennsylvania Mennonite Church (hereinafter “Mission”) directs all of the Eastern

Pennsylvania Mennonite Church’s (hereinafter “the Church”) activities.

       15.     Denied to the extent that this averment contains a legal conclusion. It is admitted

that Liberty Ridge is a home for Mennonite boys and young adult male members who were

troubled and have special spiritual, emotional and social needs.

       16.     Admitted.

       17.     Admitted.

       18.     Denied to the extent that his averment contains a conclusion of law. To the extent

a response is required, Liberty Ridge is registered with the USDOT.

       19.     Denied as “mission agency” is an ambiguous statement. As such, strict proof

thereof is demanded.

       20.     Denied. The mission does not direct the day-to-day activities and strict proof

thereof is demanded.

       21.     Denied. The Church does not “direct” or have “final authority” and strict proof

thereof is demanded.

       22.     Denied. The Church does not control all aspects of the lives and businesses of its

members, and strict proof thereof is demanded.

                                    JURISDICTION AND VENUE

       23.     Denied as a conclusion of law to which no response is required.

       24.     Denied as a conclusion of law to which no response is required.

       25.     Denied as a conclusion of law to which no response is required.

                             FACTS COMMON TO ALL PLAINTIFFS



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       26.     Admitted.

       27.     Defendants are without sufficient information to admit or deny this averment as

they are presently unaware of the identities of the Plaintiffs.

       28.     Admitted.

       29.     Admitted, with qualification. The families of the Residents pay monthly for the

expenses associated with the boys’ residence at Liberty Ridge, as with any other similar facility.

       30.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, there is no “labor” taking place in which a reasonable individual would

expect to be compensated.

       31.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, there is no “labor” taking place in which a reasonable individual would

expect to be compensated. By way of further response, Defendants deny any implication that the

money was being “retained” for any sort of nefarious gain.

       32.     Denied as a conclusion of law to which no response is required. To the extent a

response is required, there is no “labor” taking place in which a reasonable individual would

expect to be compensated. By way of further response, Defendants deny any implication that the

money was being “retained” for any sort of nefarious gain.

       33.     Denied as to the ambiguous characterization of “work.” The residents performed

activities in accordance with the stated purpose of the facility and had a structured schedule to

better improve their spiritual and behavioral growth.

       34.     Denied as to the characterization of “labor.” It is also denied that the residents

were not given any free time or time to rest.



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       35.     Denied as to the characterization of “labor.” It is also denied that the residents

were not given any free time or time to rest.

       36.     Denied. All school-aged residents were engaged in schooling.

       37.     Admitted.

       38.     Denied, as Plaintiffs are collectively referring to all Defendants, despite the

individual being the House Parent for Liberty Ridge only.

       39.     Admitted.

       40.     Denied as to the characterization of “at all times.”

       41.     Denied as stated. Liberty Ridge provides spiritual and behavioral growth to its

residents, which is why the residents’ guardians voluntarily brought each resident to the facility.

As with any troubled teen facility, poor behavior results in consequences. However, Liberty

Ridge strictly denies that the residents received consequences for trivial behaviors or activities

such as “not run[ning] fast enough.”

       42.     Denied as stated. Liberty Ridge provides spiritual and behavioral growth to its

residents, which is why the residents’ guardians voluntarily brought each resident to the facility.

As with any troubled teen facility, poor behavior results in consequences. However, Liberty

Ridge strictly denies that punishments lasted for an inappropriate amount of time.

       43.     It is denied that Liberty Ridge acted in any sort of inappropriate manner with their

consequence structure, and strict proof thereof is demanded.

       44.     It is denied that Liberty Ridge acted in any sort of inappropriate manner with their

consequence structure, and strict proof thereof is demanded.

       45.     It is denied that Liberty Ridge acted in any sort of inappropriate manner with their

consequence structure, and strict proof thereof is demanded.



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          46.    It is denied that Liberty Ridge acted in any sort of inappropriate manner with their

consequence structure, and strict proof thereof is demanded. By way of further response, it is

specifically denied that residents were tied up, restrained or dragged.

          47.    Denied. Liberty Ridge did not withhold any necessary treatment or medications.

          48.    Denied. The residents of Liberty Ridge have never been physically or mentally

abused while at the facility.

          49.    Denied. The residents of Liberty Ridge have never been threatened with abuse

while at the facility.

          50.    Denied. The residents of Liberty Ridge have never been improperly threatened by

Liberty Ridge.

          51.    Denied. Liberty Ridge never restrained, abused, or threatened the residents and

strict proof thereof is demanded.

                                       FACTS COMMON TO D.C.



          52.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          53.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          54.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.



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          55.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.

          56.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.

          57.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents did not receive schooling.

          58.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.

          59.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          60.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents were physically restrained by

Defendants.




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          61.   Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents were improperly disciplined

and/or punished.

          62.   Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that Liberty Ridge withheld necessary treatment

or medication from any residents.

                                     FACTS COMMON TO R.M.



          63.   Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          64.   Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          65.   Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          66.   Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.




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          67.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.

          68.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.

          69.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge, and that any residents would have expected to be compensated for activities.

          70.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          71.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents were physically restrained by

Defendants.

          72.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents were improperly disciplined

and/or punished.



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                                      FACTS COMMON TO T.R.



          73.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          74.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          75.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs.

          76.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents were improperly “performing

labor.”

          77.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, Liberty Ridge denies that it sent any residents to live with

unknown third parties without the consent of the residents’ respective guardians.

          78.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.



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          79.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents improperly “worked” at

Liberty Ridge.

          80.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any appropriate guardians were refused

contact.

          81.    Defendants are without sufficient information to admit or deny this averment

because Plaintiffs are presently anonymous. Accordingly, Defendants leave Plaintiffs to their

proofs. By way of further response, it is denied that any residents suffered injuries and/or

damages at the hands of Defendants.


                                      COUNT I
                     VIOLATION OF THE TVPA FOR FORCED LABOR
                                   18 U.S.C. § 1589
                          (ALL PLAINTIFFS V. DEFENDANTS)


          82.    Defendants incorporate their responses the foregoing paragraphs as if fully set forth

herein.

          83.    Denied as a conclusion of law to which no response is required.

          84.    Denied as a conclusion of law to which no response is required.

          85.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.




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       86.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

       87.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

       88.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

       89.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

       90.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

       91.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

       92.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

       93.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

       94.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.



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                                     COUNT II
                 VIOLATION OF THE TVPA FOR HUMAN TRAFFICKING
                                  18 U.S.C. § 1590
                         (ALL PLAINTIFFS V. DEFENDANTS)


          95.    Defendants incorporate their responses the foregoing paragraphs as if fully set forth

herein.

          96.    Denied as a conclusion of law to which no response is required.

          97.    Denied as a conclusion of law to which no response is required.

          98.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

          99.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

          100.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

          101.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

          102.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

                                     COUNT III (WITHDRAWN)
                                        VIOLATION OF RICO
                                       18 U.S.C. § 1961 ET SEQ.
                                  (PLAINTIFF T.R. V. DEFENDANTS)

          103.   Defendants incorporate their responses the foregoing paragraphs as if fully set forth

herein.




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          104.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          105.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          106.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          107.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          108.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          109.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          110.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          111.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

          112.   Plaintiffs have agreed to voluntarily withdraw this claim and therefore no response

is required.

                                     COUNT IV
           VIOLATION OF PENNSYLVANIA LAW AGAINST HUMAN TRAFFICKING
                                  18 P.A.C.S. § 301.
                          (ALL PLAINTIFFS V. DEFENDANTS)

          113.   Defendants incorporate their responses the foregoing paragraphs as if fully set forth

herein.

          114.   Denied as a conclusion of law to which no response is required.

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          115.   Denied as a conclusion of law to which no response is required.

          116.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

          117.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

          118.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

          119.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny these allegations, and strict proof thereof is

demanded.

          120.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

          121.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

          122.   Denied as a conclusion of law to which no response is required. To the extent a

response is required, Defendants specifically deny that Plaintiffs are owed any damages.

                                             COUNT V
                                       UNJUST ENRICHMENT
                                  (PLAINTIFF T.R. V. DEFENDANTS)

          123.   Defendants incorporate their responses the foregoing paragraphs as if fully set forth

herein.



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       124.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, it is denied that any resident conferred a benefit upon Defendants to which

compensation would be expected.

       125.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, it is denied that any resident conferred a benefit upon Defendants to which

compensation would be expected.

       126.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, it is denied that any resident conferred a benefit upon Defendants to which

compensation would be expected.

       127.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, it is denied that any resident performed labor for Defendants to which

compensation would be expected.

       128.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, it is denied that any resident performed labor for Defendants to which

compensation would be expected.

       129.    Denied as a conclusion of law to which no response is required. To the extent a

response is required, it is denied that any resident performed labor for Defendants to which

compensation would be expected, and likewise, it is denied that any resident is entitled to damages.

                                 AFFIRMATIVE DEFENSES

       Further answering, and in defense of Plaintiffs’ First Amended Complaint, Defendants

state as follows:

       1.      Defendants are protected by the First Amendment.

       2.      Defendants are protected by the Freedom of Religion Act.



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         3.     Plaintiffs’ claims are barred by the doctrine of Religious Freedom.

         4.     Plaintiffs’ claims are barred by Pennsylvania's Religious Freedom Restoration

Act.

         5.     Plaintiffs fail, in whole or in part, to state a claim or claims upon which relief may

be granted, or upon which the relief sought can be awarded.

         6.     Plaintiffs’ claims are or may be barred, in whole or in part, by the applicable

statute of limitations.

         7.     Plaintiffs’ claims and requested relief may be barred, in whole or in part, by

application of the doctrines of unclean hands, laches, waiver, estoppel and/or setoff.

         8.     Plaintiffs’ claims are barred by their failure to exhaust administrative remedies.

         9.     Plaintiffs’ claims are barred by their failure to exhaust available internal

administrative remedies.

         10.    Plaintiffs have waived their ability to set forth any other claim or complaint in any

other forum based upon any law or theory which is not premised in this Complaint.

         11.    Any loss or damage allegedly sustained by Plaintiffs were caused by the acts of

omissions of Plaintiffs.

         12.    Plaintiffs, by and through their guardians, consented to the actions of Liberty

Ridge.

         13.    Plaintiffs have suffered no cognizable damage or injury under the laws of the

United States of America or Commonwealth of Pennsylvania.

         14.    Plaintiffs are not entitled to compensatory, liquidated, or punitive damages

         15.    Plaintiffs’ claim for punitive damages is subject to the limitations set forth in the

Punitive Damages Act



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         16.     Plaintiffs have failed to plead and cannot hereafter establish a sufficient basis for

recovery of punitive damages under the laws of the Commonwealth of Pennsylvania.

         17.     Plaintiffs’ Complaint is barred, in whole or in part, by Plaintiffs’ failure to

mitigate their claimed damages

         18.     Plaintiffs did not suffer quantifiable damages or economic loss

         19.     Defendants are prejudiced by Plaintiffs’ choice to remain anonymous.

         20.     Plaintiffs’ claims are barred to the extent that Liberty Ridge was acting in loco

parentis.

         21.     Plaintiffs’ claims are barred to the extent that Plaintiffs’ guardians executed

Powers of Attorney.

         22.     Plaintiffs did not expect to be compensated for any activities completed at Liberty

Ridge.

         23.     Plaintiffs’ claims are barred due to the doctrine of consent.

         24.     Plaintiffs’ claims are barred to the extent that their guardians acted on their behalf,

not Liberty Ridge.

         25.     Nelson Martin is improperly named as d/b/a Liberty Ridge Farm.

         26.     The Mission is improperly characterized as directing the activities of Liberty

Ridge Farm.

         27.     The Church is improperly characterized as directing the activities of Liberty

Ridge Farm.

         28.     Defendants did not transport, harbor or recruit individuals to become residents of

Liberty Ridge.

         29.     Plaintiffs are not entitled to treble damages.



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       30.     Defendants did not violate any federal or state labor laws.

       31.     Defendants have religious justification for any actions taken.

       WHEREFORE, having fully answered Plaintiffs’ First Amended Complaint, Defendants

respectfully requests this Court to dismiss Plaintiff’s Complaint in its entirety and award

Defendants its costs and attorneys’ fees incurred herein and any additional relief this Court deems

just and proper.



 DATED: May 17, 2022                              Respectfully submitted,

                                                  MARGOLIS EDELSTEIN

                                                  By: /s/ Meghan Wynkoop, Esq.
                                                     MEGHAN WYNKOOP, ESQ.
                                                     Attorney No. 324242
                                                     The Curtis Center – Suite 400E
                                                     170 S. Independence Mall W.
                                                     Philadelphia, PA 19106-3337
                                                     Phone: 215-931-5828
                                                     Fax: 215-922-1772

                                                     Attorneys for Defendants




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                                  CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies the foregoing was filed via the Court’s CM/ECF System
on this 17th day of May, 2022, and served via ECF filing upon:

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                                                      /s/ Meghan Wynkoop, Esq.




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